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IN THE UNITED sTATES DISTRICT cOURT
FOR THE wESTERN DISTRICT OF TENNESSEE ` FTF,_
wESTERN DIVISION §§§§Q'_Lj~
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)(
JOHN FELIX GREER, x
X
Plaintiff, X
X
vs. X NO. 04-2839-B/V
X
J. PATTEN BROWN, III, x
X
Defendant. X
X

 

ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff John Felix Greer, an inmate at the West Tennessee
Detention, Facility iii Mason, Tennessee (WTDF)1 has filed this
complaint under 42 U.S.C. § 1983, along with a motion to proceed in
fgrma pauperis. The Clerk shall record the defendant as J. Patten
Brown, lll.

I. ASSESSMENT OF FILING FEE

Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § lQlB(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § l914(a). The

in forma pauperis statute, 28 U.S.C. § lQlB(a), merely provides the

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

'l'hls dochent entered on the docket sheet ln compliance
with Rula 55 andlor 32(\)\ FHCrP on ‘

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prisoner the opportunity to make a "downpayment" of a partial
filing fee and pay the remainder in installments.

In this case, plaintiff has not properly completed and
submitted both an lp fp;ma pauperis affidavit and a prison trust
fund account statement showing:

l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and

3) the account balance when the complaint was submitted.

Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. lt is ORDERED that within thirty (30) days of the
entry of this order the plaintiff properly complete and file both
an pp fprma pauperis affidavit and a trust fund account statement
showing the above amounts. lt is further ORDERED that the trust
fund officer at plaintiff's prison shall calculate a partial
initial filing fee equal to twenty percent of the greater of the
average balance in or deposits to the plaintiff's trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. If the funds in plaintiff's account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed, to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On

each occasion that funds are subsequently credited to plaintiff's

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account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial
filing fee is paid in full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $150.00
filing fee is paia. 7

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of

Tennessee, 262 Federal Building, lll S. Highland,

Jackson, TN 38301
and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined he shall provide the Officials at the
new prison with a copy of this order.

If the plaintiff fails to abide by these or any other

requirement of this order, the Court may impose appropriate

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sanctions, including a monetary fine, without any additional notice
or hearing by the Court.
The Clerk shall nwil. a copy rif this order to 'the prison

official in charge of prison trust fund accounts at plaintiff's

prison. The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
lQlB(e)(Z). The Clerk shall not issue process or serve any papers

in this case.
Il. ANALYSIS

On October 18, 2004, Greer filed this complaint on a form
designed for raising claims under 42 U.S.C. § 1983. He sues J.
Patten Brown, lll, an assistant federal defender who was appointed

to represent him in a pending federal criminal prosecution in this

 

district. United States v. Greer, No. O4'20009-D. Assistant
Federal Defenders do not act under color of state law. West v.
Atkins, 487 U.S. 42, 55-57 (1988). Accordingly, the Court

construes the claims against Brown under Bivens v. Six Unknown

Federal Agents, 403 U.S. 388 (l97l).
ln Bivens v. Six Unknown Federal Adents, 403 U.S. 388
(1971), the Supreme Court established that victims of a
constitutional violation committed by a federal agent may
recover damages against a federal official despite the
absence of a statute conferring the right to recover
damages.

Jones v. TVA, 948 F.2d 258, 262 (6th Cir. l99l)(emphasis added).
ln order to state a Bivens claim, plaintiff must allege action

under color of federal law. A public defender, whether state or

federal, does not act under color of law for purposes of a civil

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rights damages claim. McCord v. Bailey, 636 F.2d 606, 613 (D.C.
Cir. 1979). See also Polk Countv v. Dodson, 454 U.S. 312 (1981).
Plaintiff thus has no claim against Brown under either the various
civil rights statutes or Bivens.

Greer has no claim against his attorney for malpractice or
failing to provide adequate representation. ln Gibson v. Trant, 58
S.W.2d l03 (Tenn. 200l), the Tennessee Supreme Court addressed the
standards applicable to criminal defendants who seek to bring legal
malpractice claims against the attorneys who represented them in
the criminal proceeding. That case established an absolute
condition precedent to the bringing of a legal malpractice claim
against a criminal defense attorney:

Based on principles of equity, tort law, post-conviction

law, and public policy, we hold that a criminal defendant

must obtain post-conviction relief in order to maintain

a legal malpractice claim against his defense lawyer.
ldp at l16. Because the plaintiff in Gibson had not prevailed on
his motion pursuant to 28 U.S.C. § 2255, the court affirmed a
summary judgment in favor of the defendant. lgp Moreover, the
court did not limit its dismissal to the plaintiff's legal
malpractice claim but, instead, also dismissed his related tort
claims, including claims for gross negligence and fraud. The court
explained that “[a] close reading of his complaint reveals that
none of these allegations involve any facts apart from those
underlying his malpractice claim, namely, the circumstances
surrounding the alleged involuntariness of his plea.” ldp

Similarly, in the event that Greer is convicted in the pending

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prosecution, he cannot bring an action for legal malpractice
against his former attorney until he successfully invalidates his
federal conviction.

Accordingly, plaintiff's claims against Brown fail to state a
claim upon which relief can be granted and are dismissed pursuant
to Fed. R. Civ. P. 12{h)(3) and 28 U.S.C. § lQl5(e)(2)(B)(ii).

Finally, if plaintiff is convicted, the proper course for
litigation of his claim that his conviction is invalid because of
ineffective assistance of counsel is to take a direct appeal or to
file a motion to vacate under 28 U.S.C. § 2255 motion after the
conclusion of his direct appeal.

lII. Appeal lssues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fp;pg pauperis. Twenty-eight
U.S.C. § l915(a)(3) provides that an appeal may not be taken lp
fp;m§ pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). Accordingly, it would be
inconsistent for a district court to determine that a complaint
fails to state a claim upon which relief may be granted, yet has
sufficient merit to support an appeal ip forma pauperis. See
Williams v. Kullman, ?22 F.2d 1048, 1050 n.l (2d Cir. 1983). The
same considerations that lead the Court to dismiss this case for
failure to state a claim also compel the conclusion that an appeal

would be frivolous.

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lt is therefore CERTlFlED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip fp;m§ pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not
affect an indigent prisoner plaintiff's ability to take advantage
of the installment procedures contained in § 1915(b). McGore v.
Wrigglesworth, ll4 F.3d 601, 610-ll (6th Cir. 1997). McGore sets
out specific procedures for implementing the PLRA. Therefore, the
plaintiff is instructed that if he wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must
comply with the procedures set out in McGore and § 1915(b).

For analysis under 28 U.S.C. § l9l5(g) of future filings, if
any, by this plaintiff, this is the first dismissal, in this

district of one of his cases for failure to state a claim.

it rs so oRDERED this (o saylor May, 2005.

 

 

J. DANIEL BREEN \\
U TED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02839 Was distributed by fax, mail, or direct printing on
May l 1, 2005 to the parties listed.

 

 

John Felix Greer

WEST TENNESSEE DETENTION FACILITY
P.O. Box 509

l\/lason7 TN 38049

Honorable J. Breen
US DISTRICT COURT

